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                       IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW MEXICO

VALERIE MARTINEZ,

       Plaintiff,

vs.                                                                No. CIV 18-0201 JB\GBW

NICK NARANJO, individually and in his
official capacity as a Member of the Jemez
Mountains Electrical Cooperative; LEO
MARQUEZ, individually and in his
official capacity as a Member of the Jemez
Mountains Electrical Cooperative;
DONNA MONTOYA-TRUJILLO,
individually and in her official capacity as
a Acting General Member of the Jemez
Mountains Electrical Cooperative;
LAURA RENDON, individually and in
her official capacity as a Executive
Assistant to the Member of the Jemez
Mountains Electrical Cooperative, and the
JEMEZ MOUNTAINS ELECTRICAL
COOPERATIVE,

       Defendants.

                                      FINAL JUDGMENT

       THIS MATTER comes before the Court on: (i) the Order Granting Joint Motion to

Dismiss Individual Defendant Nick Naranjo, filed November 30, 2018 (Doc. 44); (ii) the Order

Granting Joint Motion to Dismiss Individual Defendant Leo Marquez, filed November 30, 2018

(Doc. 45); (iii) the Order Granting Joint Motion to Dismiss Individual Defendant Laura Rendon,

filed November 30, 2018 (Doc. 46); (iv) the Order Granting Joint Motion to Dismiss Individual

Defendant Donna Montoya-Trujillo, field November 30, 2018 (Doc. 48); and (v) the Order

Granting the Joint Motion to Dismiss Jemez Mountains Electric Cooperative, filed November 30,
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2018 (Doc. 49)(collectively, “Orders”). In the Orders, the Court dismissed all claims against all

Defendants with prejudice. With no more claims or parties before the Court, the Court enters Final

Judgment pursuant to rule 58 of the Federal Rules of Civil Procedure.

       IT IS ORDERED that: (i) the Plaintiffs’ claims against the Defendants are dismissed with

prejudice; and (ii) Final Judgment is entered.


                                                         ________________________________
                                                         UNITED STATES DISTRICT JUDGE



Counsel:

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       Attorneys for the Defendants




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